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     UNITED STATES DISTRICT COURT                  approve same. See, eg., doc. # 1145. Before
     SOUTHERN DISTRICT OF GEORGIA
                                                   the Court is its latest compensation-approval
          SAVANNAH DIVISION
                                                   motion. Doc. # 1164. Naturaily, the Court is
                                                   concerned about the over $2.6 million
UNITED STATES                                      incurred thus far. For example, whule it
                                                   appears that the Receiver is attempting to
v.                      405CR059
                                                   liquidate assets not subject to the stay, it is
MARTIN J. BRADLEY, 111, et. al.                    simply not clear whether these efforts will
                                                   likely result in any added value.

                   ORDER                               Within 15 days of the date this Order is
                                                   served, then, the Receiver and Monitor shall
    In this complex criminal RICO                  jointly file: (1) a description of the alleged
prosecution stemming from a                        assets that the Receiver is atternpting to
prescription-drug-based fraud scherne, the         liquidate and her opinion of the probable
Court appointed a receiver and a monitor to        success ofthese efforts; and (2) a summary of
facilitate the forfeiture of tens of millions of   the proposed work necessary to maintain the
dollars worth of convieted defendants' assets      Receivership through the end of this year,
to the United States. US. v. Bradley, 2008         including an identification of what work is
WL 228064 (S.D.Ga. 1/25/08) (unpublished)          "cost-benefit" necessary, plus a reasonable
(recounting case' s history before extending       estimate of tbe cost for accomplishing same.
the receivership until defendants' direct
appeals are exhausted); doc. # 1107.                   Meanwhile, the Court GRANTS the
                                                   Government's compensation motion. Doc. #
    The receivership began in 2006, doc. ##        1164. On a miscellaneous note, the Monitor
599, 790, and has cost over $2.6 million thus      has constantly illuminated a claimed conflict
far. Doc. # 1150 (6/6/08 Monitor's Report          of interest on the part of the Receiver. See,
No. 22 at 9); see also id. at 10 (Monitor's        e.g., doc. # 1150 at 11. The Govemment shall,
costs). In fact, in 2007 the Court expressly       within the same 1 5-day period, briefthe Court
noted the Receivership's significant cost and      on what, if anything, should be done about it.
hefty lawyer/accountant fees. US. v. J3radley,
2007 WL 4224963 at * 1 (S.D.Ga. 11/28/07)             This j day of September, 2008.
(unpublished). The Court later stayed
forfeiture-eollection of some disputed assets
pending appeal. Bradley, 2008 WL 228064 at
* 8 ("the Movants have worked out a
'standstill' Consent Order . . . essentially
locking down moneys and assets pending               AVANT EDENFIELD, JUThtE
resolution of the pending appeals in this          UNITED STATES DISTRICT COURT
case"); id. at * 14 (implementing it).             SOUTHERN DISTRTCT OF GEORGIA

    Since the receivership began, the
Government has consistently certified that it
has reviewed the receiver' s/monitor' s fee
applications before moving the Court to
